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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Proposed Attorneys for the Debtors

In re:                                                       Case No. 08-

SHAPES/ARCH HOLDINGS L.L.C., et al.,                         Judge:

                 Debtors.                                    Chapter: 11




                Recommended Local Form:                 Followed           Modified


                   CERTIFICATION OF PROFESSIONAL IN SUPPORT OF
                   APPLICATION FOR RETENTION OF PROFESSIONAL

         I, Vincent J. Colistra, being of full age, certify as follows:

         1.      I am seeking to be retained as restructuring advisors for Shapes/Arch Holdings

L.L.C. (“Shapes/Arch”), Shapes L.L.C. (“Shapes”), Delair L.L.C. (“Delair”), Accu-Weld L.L.C.

(“Accu-Weld”) and Ultra L.L.C. (“Ultra”, and with Shapes/Arch, Shapes, Delair and Accu-

Weld, collectively, the “Debtors”).

         2.      My professional credentials include: I hold an MBA from Fordham University

and a B.S. from the Pennsylvania State University. I am a member of the Turnaround

Management Association and the Association for Corporate Growth.




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        3.       I am a managing director and shareholder of the firm of: Phoenix Management

Services, Inc. (“Phoenix”), with offices located at 110 Chadds Ford Commons, Chadds Ford,

Pennsylvania.

        4.       The proposed arrangement for compensation, including hourly rates, if applicable,

is as follows: Phoenix has requested and has received a retainer in the amount of $125,000, to be

applied to Court approved fees and expenses. Subject to Court approval, Phoenix will seek

compensation based upon its customary hourly rates in effect from time to time as set forth

below, plus reimbursement of actual, necessary expenses incurred by Phoenix. The employees

and assistants who will be responsible for the representation of the Debtors and their current

hourly rates are as follows:


                 Managing Directors                   $365/hr. - $425/hr.
                 Directors                            $275/hr. - $335/hr.
                 Vice Presidents                      $195/hr. - $265/hr.
                 Senior Associates                    $205/hr.- $245/hr.
                 Associates                           $150/hr. - $195/hr.

        These hourly rates are Phoenix’s hourly rates for work of this nature and are subject to

periodic adjustments to reflect economic and other conditions. Other employees employed by

Phoenix may, from time to time, serve the Debtors in connection with these cases.

        5.       To the best of my knowledge, after reasonable and diligent investigation, my

connection with the debtors, creditors, any other party in interest, their respective attorneys and

accountants, the United States Trustee, or any person employed in the office of the United States

Trustee, is as follows:

         None

         Describe Connection:


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        6.       To the best of my knowledge, after reasonable and diligent investigation, the

connection of my firm, its members, shareholders, partners, associates, officers and/or employees

with the debtor(s), creditors, any other party in interest, their respective attorneys and

accountants, the United States trustee, or any person employed in the office of the United States

trustee, is as follows:


         None
         Describe Connection: Since approximately January 15, 2008, Phoenix has

represented the Debtors as their restructuring advisors. Phoenix’s familiarity with the Debtors’

businesses and circumstances surrounding the Chapter 11 filings will minimize charges to the

Debtors’ estates for the services contemplated herein. In the 90 days prior to the Petition Date,

Phoenix has received from the Debtors fees and costs in the amount of $257,887.15, which fees

and costs were paid from a $25,000 retainer received by Phoenix prior to beginning the

engagement and by weekly wires as services were rendered in accordance with Phoenix’s

engagement letter. As of the Petition Date, Phoenix is not owed any amounts from Debtors for

services rendered.

        7.       To the best of my knowledge, my firm, its members, shareholder, partners,

associates, officers and/or employees and I (check all that apply):

         do not hold an adverse interest to the estate.

         do not represent an adverse interest to the estate.

         are disinterested persons under 11 U.S.C. § 101(14).

         do not represent or hold any interest adverse to the Debtors or their estates with respect
          to the matter for which he/she will be retained under 11 U.S.C. § 327(e).
         Other; explain: From time to time, Phoenix may represent, or may have represented

the Debtors’ account debtors, creditors or interest holders of the Debtors in matters unrelated

either to the Debtors’ cases or to those entities’ transactions or dealings with the Debtors.

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